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                          FOR PUBLICATION

              UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT

        METLAKATLA INDIAN                           No. 21-35185
        COMMUNITY, a Federally
        Recognized Indian Tribe,                   D.C. No. 5:20-
                                                   cv-00008-JWS
                       Plaintiff-Appellant,
                                                   ORDER AND
         v.                                         AMENDED
                                                     OPINION
        MICHAEL J. DUNLEAVY,
        Governor of the State of Alaska;
        DOUG VINCENT-LANG,
        Commissioner of the Alaska
        Department of Fish and Game;
        AMANDA PRICE, Commissioner of
        the Alaska Department of Public
        Safety,

                       Defendants-Appellees.



                Appeal from the United States District Court
                         for the District of Alaska
                John W. Sedwick, District Judge, Presiding

                 Argued and Submitted December 6, 2021
                          Pasadena, California
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                           Filed September 8, 2022
                          Amended January 31, 2023

            Before: William A. Fletcher, Johnnie B. Rawlinson, and
                        John B. Owens, Circuit Judges.

                                    Order;
                         Opinion by Judge W. Fletcher


                                  SUMMARY *


                                   Indian Law

            The panel filed (1) an order amending its opinion,
        denying a petition for panel rehearing, and denying, on
        behalf of the court, a petition for rehearing en banc; and (2)
        an amended opinion reversing the district court’s dismissal,
        for failure to state a claim, of the Metlakatlan Indian
        Community’s suit against Alaskan officials, claiming that
        an 1891 statute granted the Community and its members
        the right to fish in the off-reservation waters where they
        had traditionally fished, and that they therefore were not
        subject to an Alaska statute’s limited entry program for
        commercial fishing in waters designated as Districts 1 and
        2.
            The 1891 Act established the Annette Islands Reserve
        as the Community’s reservation. The panel held that the
        1891 Act also granted to the Community and its members a

        *
          This summary constitutes no part of the opinion of the court. It has
        been prepared by court staff for the convenience of the reader.
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        non-exclusive right to fish in the off-reservation waters
        where they had traditionally fished. The panel applied the
        Indian canon of construction, which required it to construe
        the 1891 Act liberally in favor of the Community and to
        infer rights that supported the purpose of the reservation.
        In Alaska Pac. Fisheries v. United States, 248 U.S. 78
        (1918), the Supreme Court inferred a fishing right from the
        1891 Act. At issue was the scope of that right. The panel
        concluded that a central purpose of the reservation,
        understood in light of the history of the Community, was
        that the Metlakatlans would continue to support themselves
        by fishing. The panel therefore held that the 1891 Act
        preserved for the Community and its members an implied
        right to non-exclusive off-reservation fishing for personal
        consumption and ceremonial purposes, as well as for
        commercial purposes.
           The panel reversed the decision of the district court and
        remanded to allow further proceedings to determine
        whether the Community’s traditional off-reservation fishing
        grounds included the waters within Alaska’s Districts 1 and
        2.


                               COUNSEL
        Julie A. Weis (argued), Christopher G. Lundberg, and
        Christopher T. Griffith, Haglund Kelley LLP, Portland,
        Oregon, for Plaintiff-Appellant.
        Laura E. Wolff (argued) and Christopher F. Orman,
        Assistant Attorneys General; Treg R. Taylor, Attorney
        General, Office of the Alaska Attorney General, Anchorage,
        Alaska; for Defendants-Appellees.
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                                 ORDER
            The opinion filed on September 8, 2022, and published
        at 48 F.4th 963, is hereby amended and replaced by the
        amended opinion filed concurrently with this order.
            With this amendment, Judges W. Fletcher, Rawlinson,
        and Owens have voted to deny the petition for panel
        rehearing. Judges Rawlinson and Owens have voted to
        deny the petition for rehearing en banc, and Judge W.
        Fletcher so recommends.
            The full court has been advised of the petition, and no
        judge of the court has requested a vote on the petition for
        rehearing en banc. Fed. R. App. P. 35.
            Appellees’ petition for panel and en banc rehearing
        (Dkt. No. 40) is DENIED. No further petitions for
        rehearing or rehearing en banc will be entertained.


                                OPINION

        W. FLETCHER, Circuit Judge:

             Since time immemorial, members of the Metlakatlan
        Indian Community (“the Community”) and their Tsimshian
        ancestors have inhabited the coast of the Pacific Northwest
        and fished in its waters. In 1887, at the invitation of
        President Grover Cleveland, the Community relocated from
        British Columbia, Canada, to the Annette Islands in what
        was then the United States Territory of Alaska. In 1891,
        Congress passed a statute (the “1891 Act”) recognizing the
        Community and establishing the Annette Islands Reserve
        as its reservation.
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            In 1916, President Woodrow Wilson proclaimed that
        the Metlakatlans’ reservation extends 3,000 feet from the
        shoreline of the Annette Islands, and that the Metlakatlans
        have an exclusive right to fish within the reservation
        boundaries (the “Proclamation”). After the Proclamation,
        the Metlakatlans continued to fish, as they always had, both
        in the waters immediately surrounding the islands and in
        waters far from the islands’ shores. In subsequent years,
        courts, federal agencies, and the Territory of Alaska
        acknowledged with approval that the Metlakatlans fished in
        their traditional off-reservation waters.
            In 1972, Alaska amended its constitution to authorize
        the State to restrict the entry of new participants into
        commercial fisheries in state waters. Pursuant to the
        amendment, Alaska enacted a statute creating a limited
        entry program for commercial fishing. In 2020, in response
        to Alaska’s attempt to subject the Metlakatlans to its
        limited entry program, the Community sued Alaskan
        officials in federal district court.      The Community
        contended that the 1891 Act grants to the Community and
        its members the right to fish in the off-reservation waters
        where Community members have traditionally fished. The
        district court disagreed, holding that the Act provides no
        such right.
            We reverse. We hold that the 1891 Act grants to the
        Community and its members a non-exclusive right to fish
        in the off-reservation waters where they have traditionally
        fished.
                         I. Historical Background
            Community members are descendants of the Tsimshian
        people indigenous to the Pacific Northwest. Tsimshian
        fishermen long followed the fish runs along the coast and in
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        the rivers of what is now British Columbia, establishing
        temporary villages to obtain fish for subsistence, use in
        cultural practices, and trade. Marjorie M. Halpin &
        Margaret Seguin, Tsimshian Peoples: Southern Tsimshian,
        Coast Tsimshian, Nishga, and Gitksan, in 7 Handbook of
        North American Indians 267, 268–71, 281 (Wayne Suttles
        & William Sturtevant eds., 1990). Historical sources
        indicate that they fished as far north as 50 miles from the
        Annette Islands in what is now the State of Alaska.
            In 1862, a group of Tsimshians joined a lay Anglican
        missionary, “Father Duncan,” in establishing a coastal
        community at Metlakatla, British Columbia. See Andrew
        Martindale et al., Bending but Unbroken: The Nine Tribes
        of the Northern Tsimshian Through the Colonial Era, in
        Power, Political Economy, and Historical Landscapes of
        the Modern World 251, 270 (Christopher R. DeCorse ed.,
        2019); Halpin & Seguin, supra, at 281. The name
        Metlakatla—a Tsimshian word that means “place beside
        calm water”—reflects a relationship with rivers and the sea
        that, for Tsimshian peoples, centers on fishing as the
        “bedrock of the Tsimshian culture and way of life.”
        Professor Brian Hosmer observed:

               [Tsimshian cultural stories] reveal[] a great
               deal about the way Tsimshians understand
               their world. Away from human beings,
               salmon live as people, in villages, with
               chiefs, organizing their lives around the
               annual runs, which appeared to them as
               cottonwood leaves. It is only when the
               humans and salmon are in contact that
               salmon “people” take on their familiar form.
               Their relationship is reciprocal. Salmon
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               runs would continue only so long as humans
               remain faithful to rituals . . .

        Brian C. Hosmer, American Indians in the Marketplace:
        Persistence and Innovation Among the Menominees and
        Metlakatlans, 1870-1920 115 (1999).
           The Tsimshians who gathered at Metlakatla began a
        communal commercial fishing enterprise. Id. at 149. In
        1884, the Community established a fish cannery. The
        cannery turned out 8,300 cases of canned fish in its first
        year of operation. Id. at 183.
            In the 1880s, Canada began to impose a reserve system
        throughout Tsimshian territory, dividing tribal land into
        allotments to be distributed to individual tribal families.
        Martindale, supra, at 274. In 1883 and 1884, Canada
        placed Metlakatla under the ambit of its Indian Act and
        appointed an agent to oversee community affairs. Hosmer,
        supra, at 191. At the same time, non-Indian fishermen and
        canneries began to compete with the Metlakatlans. See id.
        at 193.       Before the Canadian provincial court, the
        Metlakatlans advocated for recognition of their aboriginal
        territorial rights and their attendant resource rights. See id.
        at 198; Peter Murray, The Devil and Mr. Duncan: A
        History of the Two Metlakatlas 184–87 (1985). After the
        provincial Supreme Court denied the Metlakatlans such
        recognition, Metlakatla’s tribal council authorized Father
        Duncan to travel to Washington, D.C., to attempt to secure
        land for the Metlakatlans in the Territory of Alaska.
        Hosmer, supra, at 198; Murray, supra, at 190.
            In March 1887, a group of five Metlakatlans traveled to
        the Territory of Alaska in search of a new home. Susan
        Neylan, “Choose Your Flag”: Perspectives on the
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        Tsimshian Migration from Metlakatla, British Columbia, to
        New Metlakatla, Alaska, 1887, in New Histories for Old:
        Changing Perspectives on Canada’s Native Pasts 196, 198
        (Theodore Binnema & Susan Neylan eds., 2007). The
        group chose the nearby Annette Islands because of the
        islands’ easy access to waters with abundant fish. Alaska
        Pac. Fisheries v. United States, 248 U.S. 78, 88 (1918)
        (“[The Metlakatlans] looked upon the islands as a suitable
        location . . . because the fishery adjacent to the shore would
        afford a primary means of subsistence and a promising
        opportunity for industrial and commercial development.”);
        Neylan, supra, at 211; Brief for Appellant at 11, Metlakatla
        Indian Cmty., Annette Islands Rsrv. v. Egan, 363 U.S. 555
        (1960) (No. 326) (“[The Metlakatlans] specifically selected
        the Annette Islands because of their fishing potential.”). At
        the invitation of President Cleveland, the remainder of the
        823 Metlakatlans followed on August 7, 1887. 21 Cong.
        Rec. 10092 (1890); Neylan, supra, at 199; Hosmer, supra,
        at 200; Nat’l Surv. of Hist. Sites & Bldgs., U.S. Dep’t of
        the Interior & Nat’l Park Serv., Alaska History: 1741-1910,
        at 127, 209 (1961). Years later, reflecting on the migration,
        Metlakatlan Rod Davis recounted,

               When we landed in . . . Alaska, now, at the
               time it was a nice beautiful day. How well I
               remember that day; it was bright and sunny,
               and there was a lot of fish. We camped at
               one of the creeks on Saturday night . . . and
               in those days that creek was just loaded with
               salmon, pink salmon. There must have been
               millions of them in that creek. How well I
               remember.

        Neylan, supra, at 211.
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            After moving to the Annette Islands, the Metlakatlans
        continued to fish throughout the waters of Southeast
        Alaska. See Hosmer, supra, at 200–01. In 1891, four years
        after the Metlakatlans moved to the islands, Congress
        passed the 1891 Act, recognizing the Metlakatlan Indian
        Community and establishing the Annette Islands as the
        Community’s reservation. The Act, later codified as
        amended at 25 U.S.C. § 495, provided:

               That until otherwise provided by law the
               body of lands known as Annette Islands,
               situated in Alexander Archipelago in
               Southeastern Alaska, on the north side of
               Dixon’s entrance, be . . . set apart as a
               reservation for the use of the Metlakahtla
               [sic] Indians, and those people known as
               Metlakahtlans [sic] who have recently
               emigrated from British Columbia to Alaska,
               and such other Alaskan natives as may join
               them, to be held and used by them in
               common, under such rules and regulations,
               and subject to such restrictions, as may [be]
               prescribed from time to time by the
               Secretary of the Interior.

        Act of Mar. 3, 1891, ch. 561, § 15, 26 Stat. 1101 (1891).
            After Congress established the reservation, Community
        members continued to fish where they had always fished,
        both in the waters immediately surrounding the reservation
        and in the waters miles away. Hosmer, supra, at 203, 205.
        Reports by federal agencies and federal officials
        documented Metlakatlans fishing up to 50 miles from the
        reservation. Jefferson F. Moser, U.S. Comm’n of Fish &
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        Fisheries, The Salmon and Salmon Fisheries of Alaska:
        Report of the Operations of the United States Fish
        Commission Steamer Albatross for the Year Ending June
        30, 1898, at 63, 68 (1899) (identifying sites at Quadra Bay
        and Moira Sound); Jefferson Moser, U.S. Comm’n of Fish
        & Fisheries, The Salmon and Salmon Fisheries of Alaska:
        Report of the Alaskan Salmon Investigations of the United
        States Fish Commission Steamer Albatross in 1900 and
        1901, at 298 (1902) (identifying sites at Home Stream,
        Tamgas, Quadra Bay, Karta Bay, Kithraum, Peter Johnson,
        Nowiskay, Old Johnson, Kegan, and Kagahine); George R.
        Tingle, Inspector of Salmon Fisheries, Special Agent Div.,
        U.S. Treasury Dep’t, Report on the Salmon Fisheries in
        Alaska, 1896, at 5, 21 (1897) (identifying sites at Naha
        Bay, Karta Bay, and Kah Shakes Cove); see Hosmer,
        supra, at 203 (concluding that these practices “provid[e]
        convincing evidence that they did not equate immigration
        with a relinquishing of their aboriginal resource rights”).
        Father Duncan’s letters corroborate these reports,
        documenting Metlakatlan fishing throughout the southern
        Alaska panhandle. Hosmer, supra, at 205.
            Fishing at these off-reservation locations supplied a
        cannery that Metlakatlans established on the reservation in
        1891. This cannery replaced the cannery they had
        established at Metlakatla, British Columbia, before they
        moved to the Annette Islands. Moser, 1900 and 1901,
        supra, at 297–98; Hosmer, supra, at 201–02. By 1900, the
        cannery had annual output of more than 17,000 cases of
        cans. Moser, 1900 and 1901, supra, at 298. By 1912, total
        production reached nearly 300,000 cases. Hosmer, supra,
        at 201. Metlakatlans also continued to rely on fish for
        cultural practices, including feasts for observances of birth,
        marriage, death, and other important life transitions
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        entailing consuming, giving, and exchanging fish.
        According to Professor Hosmer, the Metlakatlans
        “successfully picked up and relocated, hardly missing a
        beat.” Id. at 204.
            In 1915, the Secretary of the Interior promulgated
        regulations establishing an elected Community council with
        authority to enact local ordinances for the reservation, and
        allowing Community members to obtain federal permits for
        the use of salmon traps in waters adjacent to the Annette
        Islands. See Metlakatla Indian Cmty., Annette Islands
        Rsrv. v. Egan, 369 U.S. 45, 48 (1962).
            In 1916, President Wilson proclaimed that the waters
        3,000 feet from the shoreline of the Annette Islands were
        reserved for the exclusive use of the Metlakatlans. The
        Proclamation provides:

               Now, therefore, I, Woodrow Wilson,
               President of the United States of America,
               by virtue of the power in me vested by the
               laws of the United States, do hereby make
               known and proclaim that the waters within
               three thousand feet from the shore lines at
               mean low tide of Annette Island, Ham
               Island, Walker Island, Lewis Island, Spire
               Island, Hemlock Island, and adjacent rocks
               and islets, located within the area segregated
               by the broken line upon the diagram hereto
               attached and made a part of this
               proclamation; also the bays of said islands,
               rocks, and islets, are hereby reserved for the
               benefit of the Metlakahtlans [sic] and such
               other Alaskan natives as have joined them or
               may join them in residence on these islands,
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               to be used by them under the general
               fisheries laws and regulations of the United
               States as administered by the Secretary of
               Commerce.

        Proclamation No. 1332, 39 Stat. 1777–78 (Apr. 28, 1916).
            The Department of the Interior promulgated the
        Proclamation as a regulation at 25 C.F.R. § 241.2. The
        Community’s cannery operations were thereafter organized
        under the aegis of the Annette Island Packing Company.
         See Territory v. Annette Island Packing Co., 6 Alaska 585
        (D. Alaska 1922), aff’d, 289 F. 671 (9th Cir. 1923), cert.
        denied, 263 U.S. 708 (1923).
            In 1916, shortly before President Wilson issued the
        Proclamation, non-Indians had placed a fish trap 600 feet
        off the shore of the reservation. The United States brought
        suit in the district court for the Territory of Alaska, seeking
        an injunction that would require removal of the trap. The
        court granted the injunction. It wrote:

               In passing [the 1891 Act], Congress must be
               held to have known (what every one else
               knew) that the Indians of Alaska are fisher
               folk and hunters and trappers, and largely, if
               not entirely, dependent for their livelihood
               upon the yield of such vocations. It must be
               held to have known that without the food
               yield of the sea these Indians could not
               survive, for the Annette Islands would not of
               themselves, “as land,” afford a subsistence
               for a community of souls; there being little
               or no agricultural land on the islands, or for
               that matter in all Southeastern Alaska.
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        United States v. Alaska Pac. Fisheries, 5 Alaska 484, 486–
        87 (D. Alaska 1916).
            The Supreme Court affirmed. In Alaska Pacific
        Fisheries, 248 U.S. at 89, the Court held that the 1891 Act
        establishing the reservation granted an exclusive right to
        Metlakatlans to fish in the “fishing grounds” “adjacent” to
        the Annette Islands. The Court wrote:

               After their settlement and before the
               reservation was created, the Indians . . .
               adopted a form of self-government suited to
               their needs . . . and constructed and installed
               an extensive establishment where they
               canned salmon for the market. The purpose
               of creating the reservation was to encourage,
               assist and protect the Indians in their effort
               to train themselves to habits of industry
               [and] become self-sustaining . . . . Evidently
               Congress intended to conform its action to
               their situation and needs.

        Id. at 88–89. In affirming the injunction requiring the
        removal of the non-Indians’ fish trap, the Supreme Court
        relied only on the 1891 Act. It did not rely on, or even
        mention, the 3,000-foot boundary established by President
        Wilson’s 1916 Proclamation. See also Egan, 369 U.S. at
        49 (“In 1918, without reference to the proclamation, this
        Court upheld the right of the Metlakatlans to exclude others
        from the waters surrounding their islands on the ground
        that these waters were included within the original
        reservation by Congress.” (citing Alaska Pacfic Fisheries
        v. United States, 248 U.S. 78)).
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            After the Supreme Court’s decision in Alaska Pacific
        Fisheries, Metlakatlans continued to fish in the off-
        reservation waters where they had always fished. An
        internal Department of the Interior report in 1920 recounted
        that “Metlakatla natives did, as they have from time
        immemorial, go beyond the [reservation’s] limit[s] to seine
        fish.”     The Territory of Alaska acknowledged the
        geographical extent of the Metlakatlans’ traditional fishing
        grounds in a tax dispute arising out of the Community’s
        commercial fishing. In its answer to the Secretary of the
        Interior’s complaint-in-intervention, Alaska wrote:

               [T]he right of the inhabitants of said Annette
               Island[s] reserve to catch fish outside of the
               reserve . . . has always been and is now
               recognized by the [Secretary of the Interior]
               and by the Government of the United States,
               and such right is and at all times has been
               claimed by the said Metlakatla people.

        Answer to Complaint in Intervention, at 5, Territory v.
        Annette Island Packing Co., 6 Alaska 585 (No. 2023-A).
        In deciding the tax dispute, the territorial court noted that
        fish for the Metlakatlan cannery were “secured from any
        waters” and that, in 1919, the cannery had processed
        “approximately 130,000 salmon caught by Indian residents
        of Metlakahtla [sic] outside of the Annette Indian reserve
        and its reserved waters.” Annette Island Packing Co., 6
        Alaska at 592 (agreed statement of facts).
            Congress granted statehood to Alaska in 1958. Pub. L.
        No. 85-508, § 6(e), 72 Stat. 339, 340 (1958). In 1972,
        Alaskans adopted a constitutional amendment that
        authorized the State to limit the entry of new participants
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        into commercial fisheries in Alaskan waters. Alaska Const.
        art. VIII, § 15. In 1973, pursuant to that amendment,
        Alaska instituted a “limited entry” program to regulate
        commercial fishing. Alaska Stat. § 16.43.010.
            In recent years, changing conditions have threatened
        fish stocks available to the Community. Community
        members primarily fish for salmon. Migratory fish such as
        salmon are subject to changes in their migratory routes in
        response to environmental conditions, including climate
        change. Non-Indian commercial fishing practices in the
        State-managed fishing areas surrounding the Community’s
        exclusive zone have put a substantial strain on Community
        fish yields. State-managed fisheries sometimes intercept
        salmon before they return to the Community’s exclusive
        zone. Community members also fish for herring. The
        Community has adopted a management strategy that has
        increased the exclusive zone’s herring biomass to more
        than 20,000 tons—one of the largest herring stocks in
        Southeast Alaska. However, when herring leave the
        exclusive zone, Alaska’s limited entry program restricts
        access to the herring by Community members.
                          II. Proceedings Below
            On August 7, 2020, the Community sued Alaskan
        officials in federal district court, alleging that Alaska’s
        limited entry program illegally restricts Community
        members’ right to fish outside the reservation boundaries.
        The Community’s complaint seeks (1) a declaration that
        “Congress’ reservation of the Annette Islands Reserve for
        the Metlakatla Indian Community included the non-
        exclusive right to fish in waters adjacent to the Reserve
        currently designated as Districts 1 and 2, free from
        unreasonable interference by the defendants, and that such
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        right has not been revoked or diminished”; and (2) “a
        permanent injunction barring the defendants from asserting
        jurisdiction over the Community and its members
        inconsistent with the Community’s reserved fishing rights,
        and from otherwise unreasonably interfering with the
        Community’s reserved fishing rights.”
            Defendants moved to dismiss the complaint for failure
        to state a claim under Rule 12(b)(6). The Community
        opposed the motion and requested oral argument. The
        district court denied the request for oral argument and
        granted the motion to dismiss. The court determined that
        the Community failed to state a claim for relief because, in
        the view of the court, the 1891 Act did not reserve off-
        reservation fishing rights for the Community and its
        members.
            The Community timely appealed. For the reasons that
        follow, we reverse.
                          III. Standard of Review
            We review de novo a dismissal for failure to state a
        claim under Rule 12(b)(6). United States v. Washington,
        853 F.3d 946, 961 (9th Cir. 2017). We review de novo
        questions of statutory interpretation. Confederated Tribes
        of Chehalis Indian Rsrv. v. State of Washington, 96 F.3d
        334, 340 (9th Cir. 1996). We review for abuse of
        discretion a decision to grant or deny permanent injunctive
        relief, but we review de novo the underlying legal
        conclusions on which the district court based its decision.
        United States v. Oregon, 470 F.3d 809, 810 n.2 (9th Cir.
        2006).
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                              IV. Discussion
                     A. Indian Canon of Construction
             Statutes that touch upon federal Indian law “are to be
        construed liberally in favor of the Indians, with ambiguous
        provisions interpreted to their benefit.” Swinomish Indian
        Tribal Cmty. v. BNSF Ry. Co., 951 F.3d 1142, 1156 (9th
        Cir. 2020) (quoting Montana v. Blackfeet Tribe of Indians,
        471 U.S. 759, 766 (1985)); Chehalis, 96 F.3d at 340
        (“Courts have uniformly held that treaties, statutes[,] and
        executive orders must be liberally construed in favor of
        establishing Indian rights.”).         Statutes that create
        reservations, like treaties and executive orders, “are
        interpreted as the Indians would have understood them.”
        Chehalis, 96 F.3d at 342 (citing Parravano v. Babbitt, 70
        F.3d 539, 544 (9th Cir. 1995), cert. denied, 518 U.S. 1016
        (1996)); Puyallup Indian Tribe v. Port of Tacoma, 717 F.2d
        1251, 1257 n.6 (9th Cir. 1983), cert. denied, 465 U.S. 1049
        (1984) (“This principle of treaty construction applies with
        equal force to statutes passed for the benefit of Indians and
        to executive orders.” (citations omitted)). A right will be
        inferred when that right supports a purpose for which a
        reservation was established. Winters v. United States, 207
        U.S. 564, 576–77 (1908). Because the purposes of
        reservations are often unarticulated in a statute, treaty, or
        executive order, we consider “the circumstances
        surrounding their creation[] and the history of the Indians
        for whom they were created.” Chehalis, 96 F.3d at 342
        (citing Colville Confederated Tribes v. Walton, 647 F.2d
        42, 47 (9th Cir. 1981)), cert. denied, 454 U.S. 1092 (1981).
        “We also consider their need to maintain themselves under
        changed circumstances.” Colville, 647 F.2d at 47. These
        interpretive principles “are rooted in the unique trust
        relationship between the United States and the Indians.”
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        Oneida Cnty. v. Oneida Indian Nation of New York State,
        470 U.S. 226, 247 (1985).
                     B. Implied Off-Reservation Rights
            The Indian canon requires us to infer rights that support
        a reservation’s purpose. The seminal case is Winters v.
        United States, in which the Court found implied water
        rights that supported the purpose of the Fort Belknap
        Reservation. 207 U.S. at 576–77. The reservation had
        been created by an agreement between the United States
        and the Gros Ventre and Assiniboine Tribes. Id. at 565.
        The purpose of the reservation was to encourage the Tribes
        to give up their “nomadic” way of life and to become
        farmers. Id. at 576. No provision was made in the
        agreement for water to irrigate the arid land on the
        reservation. The Court chose “between two inferences[—
        ]one of which would support the purpose of the agreement
        and the other impair or defeat it.” Id. at 577 (emphasis
        added). The Court chose the former inference on the
        ground that the agreement creating the reservation should
        be construed to imply a right to water for irrigation in order
        not to “defeat the declared purpose” of the agreement. Id.
            In Arizona v. California, 373 U.S. 546 (1963), the
        Court inferred a right to irrigation water from the Colorado
        River for five Indian reservations. One of the reservations
        had been created by statute; the other four had been created
        by executive order. Id. at 596. Citing Winters, the Court
        held that all five reservations had implied rights to water
        for irrigation. Id. at 599–600. The Court affirmed the
        Special Master, who had concluded “that the water was
        intended to satisfy the future as well as the present needs of
        the Indian Reservations and ruled that enough water was
        reserved to irrigate all of the practicably irrigable acreage
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        on the reservations.” Id. (emphasis added); see also United
        States v. New Mexico, 438 U.S. 696, 702 (1978) (“Where
        water is necessary to fulfill the very purposes for which a
        federal reservation was created, it is reasonable to
        conclude, even in the face of Congress’ express deference
        to state water law in other areas, that the United States
        intended to reserve the necessary water.”).
             We have applied the Winters implied-rights rule in
        several cases in this circuit. In Colville, 647 F.2d at 45, an
        agreement between the United States and the tribes
        established a reservation in eastern Washington. We
        construed the purposes of the reservation broadly: “The
        specific purposes of an Indian reservation . . . were often
        unarticulated. The general purpose, to provide a home for
        the Indians, is a broad one and must be liberally construed.”
        Id. at 47 (footnotes omitted). We wrote: “Congress
        intended to deal fairly with the Indians by reserving waters
        without which their lands would be useless.” Id. We held
        that there was an implied right not only to water for
        irrigation, but also to water for streams for spawning trout.
        We wrote:

               Providing for a land-based agrarian society,
               however, was not the only purpose for
               creating the reservation. The Colvilles
               traditionally fished for both salmon and
               trout. Like other Pacific Northwest Indians,
               fishing was of economic and religious
               importance to them. . . . The Tribe’s
               principal historic fishing grounds on the
               Columbia River have been destroyed by
               dams.       The Indians have established
               replacement fishing grounds in Omak Lake
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                by planting a non-indigenous trout. . . .
                [P]reservation of the tribe’s access to fishing
                grounds was one purpose for the creation of
                the Colville reservation.           Under the
                circumstances, we find an implied
                reservation of water . . . for the development
                and maintenance of replacement fishing
                grounds.

        Id. at 48 (citations omitted).
            In United States v. Adair, 723 F.2d 1394, 1397–98 (9th
        Cir. 1983), a treaty established a reservation for the
        Klamath Tribe in eastern Oregon. The treaty promised that
        the Tribe would have the right to “hunt, fish, and gather on
        their reservation,” id. at 1398, but did not mention any right
        to water. A purpose of the reservation was to “secure to the
        Tribe a continuation of its traditional hunting and fishing”
        way of life. Id. at 1409. Because game and fish on the
        reservation depended on a continuous flow of water from
        the Williamson River, we held that there was an implied
        right under the treaty to an amount of river water that
        would ensure an adequate amount of game and fish for the
        Tribe. Id. at 1411; see also Washington, 853 F.3d at 965
        (“[E]ven if Governor Stevens had made no explicit
        promise, we would infer . . . a promise to ‘support the
        purpose’ of the Treaties. . . . [T]he Tribes’ right of access to
        their usual and accustomed fishing places would be
        worthless without harvestable fish.”).
            Our sister circuit endorsed the application of the
        Winters framework to the context of off-reservation fishing
        rights in United States v. Michigan, 653 F.2d 277 (6th Cir.
        1981). The Sixth Circuit affirmed the district court’s
        holding that a treaty reserved for the Sault Ste. Marie Tribe
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        of Chippewa Indians of Michigan and Bay Mills Indian
        Community implied non-exclusive fishing rights in certain
        areas of the Great Lakes. United States v. Michigan, 471 F.
        Supp. 192, 253, 258 (W.D. Mich. 1979), aff’d, 653 F.2d
        277. The district court concluded that the historical
        evidence “demonstrat[ed] that the Indians were absolutely
        dependent upon fishing for subsistence and their
        livelihood” such that “they would not have relinquished
        their right to fish in the ceded waters of the Great Lakes.”
        Id. at 253. Applying Winters, the district court held that the
        treaty “impliedly reserved a right to fish commercially and
        for subsistence” in those areas of the Great Lakes because
        (1) the treaty lacked “language expressly relinquishing the
        aboriginal right of the . . . Indians to fish in the . . . waters”;
        (2) at the time of the treaty, “commercial fishing was
        essential to the livelihood of these Indians and for them to
        have relinquished fishing rights would have been
        tantamount to agreeing to a systematic annihilation of their
        culture, and perhaps of their very existence”; (3) the tribes
        and the federal government “were aware that the Indians
        had no way of sustaining themselves in Michigan except by
        fishing”; and (4) “the Indians did not understand the treaty
        to limit their right to fish.” Id. at 257–58.
            C. The Community’s Off-Reservation Fishing Right
            The question before us is not the existence of implied
        fishing rights of the Community. In Alaska Pacific
        Fisheries, 248 U.S. at 88–89, the Supreme Court answered
        this threshold question when it inferred a fishing right from
        the 1891 Act, relying on that right to affirm an injunction
        against a non-Indian fish trap 600 feet from the shore of the
        Community’s reservation. We thus know from Alaska
        Pacific Fisheries that there is an implied fishing right
        stemming from the 1891 Act. The question before us is the
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        scope of that right. A central purpose of the reservation,
        understood in light of the history of the Community,
        provides the answer.
            As described above, since time immemorial
        Metlakatlans have fished outside the boundaries of their
        current reservation. Before the arrival of European settlers,
        they fished throughout the waters of Southeast Alaska for
        ceremonial purposes, for personal consumption, and for
        trade. Shortly before they came to the Annette Islands,
        Metlakatlans established a commercial fish cannery to
        adapt their mode of trade to modern conditions. When
        Metlakatlans moved to the islands in the late 1880s at the
        invitation of President Cleveland, they did so with the
        understanding that they would be able to support
        themselves by fishing, as they had always done. Indeed,
        soon after moving to the reservation, the Community set up
        a new cannery—supplied by off-reservation fishing—and
        quickly increased production in the following years. When
        Congress passed the 1891 Act establishing the
        Metlakatlans’ reservation, it did so with the expectation
        that the Metlakatlans would continue to support themselves
        by fishing. Id. at 89 (“The purpose of creating the
        reservation was to encourage, assist[,] and protect the
        Indians in their effort to . . . become self-sustaining . . . .
        Without [fishing rights] the [Community] could not
        prosper.”). That is, Congress passed the Act with the
        expectation not only that Metlakatlans would catch fish for
        ceremonial purposes and personal consumption, but that
        they would also pursue the commercial fishery that had
        provided, and continued to provide, essential economic
        support for the Community. Congress clearly contemplated
        that Metlakatlans would continue to fish off-reservation
        toward those ends. Congress also expected fishing to
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        support the Community not only at the time the reservation
        was created, but in the future. In the words of the Supreme
        Court in Arizona v. California, fishing “was intended to
        satisfy the future as well as the present needs” of the
        Community. 373 U.S. at 600; see also Alaska Pac.
        Fisheries, 248 U.S. at 89 (“Congress intended to conform
        its action to their situation and needs.”).
            We therefore hold that the 1891 Act preserved for the
        Community and its members an implied right to non-
        exclusive off-reservation fishing in the traditional fishing
        grounds for personal consumption and ceremonial
        purposes, as well as for commercial purposes. Because this
        case comes to us on appeal from a ruling on a Rule 12(b)(6)
        motion, we remand to the district court to allow further
        proceedings to determine whether the Community’s
        traditional off-reservation fishing grounds included the
        waters within Alaska’s Districts 1 and 2.
                      D. Arguments Made by Alaska
            Alaska argues that distinguishing features of the
        Community’s reservation require us to analyze the
        Metlakatlans’ right differently from the rights of members
        of other tribes. Alaska presented a substantially similar
        argument to the Supreme Court over sixty years ago in
        Egan.     There, Alaska argued: “The nature of the
        Metlakatlan ‘reservation’ cannot be too strongly
        emphasized. It is not, and has never been treated as what is
        normally termed an Indian reservation. . . . It is only
        necessary to . . . apply relevant legal theory—not theories
        which may be applicable to Indian reservations elsewhere,
        set up under different terms, and given different historical
        treatment.” Brief for Appellees at 44–45, Metlakatla
        Indian Cmty. v. Egan, 369 U.S. 45 (1961) (No. 2). The
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        Court declined to ascribe analytical significance to the
        different set of circumstances surrounding the creation of
        the Community’s reservation, and so do we.
            Here, Alaska first asks us to distinguish between
        statutes and executive orders, contending that an implied
        right should not be found in a statute, such as the 1891 Act,
        whose text is “utterly silent” about such a right. The
        distinction Alaska asks us to draw does not exist in the case
        law. As Professor Phil Frickey observed:

               [M]any federal Indian law decisions,
               especially those dealing with developments
               since the mid-nineteenth century, turn not on
               treaty language, but on the text of seemingly
               more mundane instruments of law, such as
               statutes, executive orders, and federal
               regulations. For example, millions of acres
               of Indian lands are located on reservations
               established by executive order.           This
               difference in form should not, however,
               substantially alter judicial methodology.
               Some of these non-treaty enactments
               embody agreements with tribes that would
               have been handled by treaty in former eras.
               Many of the rest embody unilateral
               alterations of prior treaties. In any event,
               because all are constitutive in nature—all
               adjust a sovereign-to-sovereign, structural
               relationship based on Chief Justice
               Marshall’s understanding of the earliest
               colonial practices prior to the negotiation of
               any treaty—the canon should apply to them,
               too. Consistent with this notion, the Court
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               has drawn no fundamental interpretive
               distinction between reservations established
               by statute or executive order and those
               protected by treaty.

        Philip P. Frickey, Marshalling Past and Present:
        Colonialism, Constitutionalism, and Interpretation in
        Federal Indian Law, 107 Harv. L. Rev. 381, 421–22 (1993)
        (footnotes omitted); see also James T. Campbell,
        Aurelius’s Article III Revisionism: Reimagining Judicial
        Engagement with the Insular Cases and “The Law of the
        Territories”, 131 Yale L. J. 2542, 2637 (2022) (“The Court
        has declined to distinguish between treaty and nontreaty
        agreements with the federal government, subjecting both to
        interpretive rules that are designed to vindicate those
        promises . . . . That interpretive approach flows from a
        meaningful interrogation of historical practice . . . .”
        (footnotes omitted)).
            The case law reflects this principle. The Court in
        Arizona v. California dealt with implied rights to water for
        tribes on five reservations. 373 U.S. at 596. One of the
        reservations was created by statute; the others were created
        by executive order. The Court drew no distinction between
        the two types of legal instruments. See id. at 598–600. In
        Puyallup Indian Tribe, 717 F.2d at 1257 n.6, we wrote that
        the Indian canon, while often applied to treaties as a matter
        of historical coincidence, also “applies with equal force to
        statutes passed for the benefit of Indians and to executive
        orders.” Later, in Parravano, 70 F.3d at 544, we wrote that
        “[t]he rule of construction applicable to executive orders
        creating Indian reservations is the same as that governing
        the interpretation of Indian treaties.” And in Chehalis, 96
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        F.3d at 340, we recognized that the Indian canon applies
        “uniformly” to “treaties, statutes[,] and executive orders.”
            The type of legal instrument that establishes a
        reservation thus makes no difference to our inquiry into a
        tribe’s attendant resource rights. Because the Indian canon
        is rooted in the trust relationship between the federal
        government and Indian tribes, see Oneida Indian Nation,
        470 U.S. at 247, and because federal recognition of an
        Indian tribe institutionalizes that relationship, see Cohen’s
        Handbook of Federal Indian Law § 3.02[3] (Nell Jessup
        Newton ed., 2017), it does not matter which type of
        document provides such recognition or establishes a
        reservation. See also Seminole Nation v. United States, 316
        U.S. 286, 296–97 (1942).
            Second, Alaska argues that the Community is
        foreclosed from claiming an implied right to off-reservation
        fishing because Metlakatlans “had no aboriginal claims to
        preserve.” However, as discussed above, Metlakatlans and
        their Tsimshian ancestors asserted and exercised a right to
        fish in these waters since time immemorial. In passing the
        1891 Act, Congress “confirmed the continued existence of
        th[is] right[].” Adair, 723 F.2d at 1414.
            Third, Alaska asks us to distinguish between the
        Community and tribes that were forced off of all or part of
        their original lands, where those tribes gave up their
        original lands in exchange for explicit and/or implicit
        appurtenant off-reservation rights. In the view of Alaska,
        because the United States provided the Annette Islands to
        the Community as a gift rather than pursuant to an
        exchange, the United States did not intend the 1891 Act to
        provide any implicit off-reservation rights.
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            There is nothing in the case law indicating that implied
        rights are only found in instances where there has been an
        exchange. Indeed, it is difficult to characterize the creation
        of many reservations as resulting from any sort of genuine
        “exchange.” See Choctaw Nation v. Oklahoma, 397 U.S.
        620, 631 (1970) (observing that these legal arrangements
        were often “imposed upon [the Indians] and they had no
        choice but to consent”); Hagen v. Utah, 510 U.S. 399, 422
        n.1 (1994) (Blackmun, J., dissenting) (noting the “unequal
        bargaining power when agreements were negotiated”). The
        Supreme Court has recently emphasized, “[I]n order to
        create a reservation it is not necessary that there should be a
        formal cession or a formal act setting apart a particular
        tract. It is enough that from what has been there results a
        certain defined tract appropriated to certain purposes.”
        McGirt v. Oklahoma, 140 S. Ct. 2452, 2475 (2020)
        (alteration in original) (quoting Minnesota v. Hitchcock,
        185 U.S. 373, 390 (1902)). As the Supreme Court wrote in
        Egan, 369 U.S. at 52, “The words ‘set apart as a
        reservation,’ appearing in the statute creating the Annette
        Islands Reserve, are substantially the same as used in
        numerous other statutory reservations.” The Court noted
        that reservations secured by other legal instruments, such as
        treaties, are “sometimes phrased in terms of a gift or
        assignment rather than a reservation of land.” Id.
            Fourth, Alaska argues that the legislative history of the
        1891 Act “demonstrates a lack of intent to convey off-
        reservation fishing rights.” Alaska argues:

               The Senate’s understanding of the
               Metlakatlans’ history was “well-known.”
               The Senate understood that Father Duncan
               sought Congress’s “consent” to allow these
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               immigrants to continue to live on the
               Annette Islands. And Congress gave that
               consent after considering that the
               Metlakatlans had formed what senators
               believed was a model Christian community.
               . . . The congressional record says nothing
               about fishing rights, much less some sort of
               prioritized off-reservation fishing rights for
               the Metlakatlans.

        (emphases added). Neither the fact that the Metlakatlans
        were “immigrants,” nor the fact that they had formed what
        the Senators believed was a “model Christian community”
        is relevant to the question whether Congress expected the
        Metlakatlans to support themselves through off-reservation
        fishing. The Metlakatlans did, in fact, immigrate to the
        Annette Islands from British Columbia, but the Supreme
        Court has told us that this is legally irrelevant. The Court
        wrote in Alaska Pacific Fisheries:                “True, the
        Metlakahtlans [sic] were foreign born, but the action of
        Congress has made that immaterial here.” 248 U.S. at 89.
        Further, the Senate’s understanding of the religious beliefs
        of Community members tells us nothing about the means
        by which Congress expected them to support themselves.
                              E. Regulation
            Alaska’s limited entry program, as currently
        administered, is incompatible with the Metlakatlans’ off-
        reservation fishing rights. Fishing had always been, and
        continues to be, the heartbeat of the Community.
        Congress’ intent in the 1891 Act was that the Metlakatlans
        would have off-reservation fishing rights that would
        “satisfy the future as well as the present needs” of the
        Community. Arizona, 373 U.S. at 600. Any regulation by
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        Alaska of off-reservation fishing by the Community must
        be consistent with such rights.
                               Conclusion
            We hold that the 1891 Act reserves for the Metlakatlan
        Indian Community an implied right to non-exclusive off-
        reservation fishing in the areas where they have fished
        since time immemorial and where they continued to fish in
        1891 when their reservation was established. We reverse
        the decision of the district court and remand for further
        proceedings consistent with this opinion.
           REVERSED and REMANDED.
